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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF RHODE ISLAND



  STATE OF RHODE ISLAND, et al.,

                   Plaintiffs,

          v.                                                Case No. 1:25-cv-128

  DONALD TRUMP, in his official capacity as
  President of the United States; et al.,

                   Defendants.




                SUPPLEMENTAL DECLARATION OF JENNIFER R. NELSON

        Pursuant to 28 U.S.C. § 1746, I, Jennifer R. Nelson, hereby declare as follows:

        1.        I am a resident of New Jersey. I am over the age of 18 and have personal knowledge

 of all the facts stated herein, except as to those matters stated upon information and belief; as to

 those matters, I believe them to be true. If called as a witness, I could and would testify competently

 to the matters set forth below.

        2.        In February 2021, I was appointed as the State Librarian for the New Jersey State

 Library, an affiliate of Thomas Edison State University. Prior to holding this position, I served as

 director of Minnesota State Library Services, a division of the Minnesota Department of Education

 that administers state and federal programs for libraries and the Minnesota Braille and Talking

 Book Library. In addition to state-level work, I also have more than 25 years of experience at large

 urban and county libraries.

               3. The New Jersey State Library (NJSL) is responsible for maintaining library

 resources and information services over a broad range of subjects and for providing special library

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 services for the legislative, executive and judicial branches of state Government, supplemental

 library service for New Jersey libraries and direct library services for persons with disabilities.

 NJSL is also charged with coordinating a statewide system of libraries in New Jersey and

 administering State and federal programs for the development of libraries, library facilities, library

 resources and library services in New Jersey. NJSL requires reports that are necessary for the

 proper administration of its duties. This includes gathering and publishing annual and occasional

 statistics on libraries in the State.

         4.      As State Librarian, I am responsible for directing and administering the work of the

 New Jersey State Library and administering all laws which are included under the jurisdiction of

 the library, including the fiscal oversight and management of federal and State grant and aid

 programs. Further, I am certified by New Jersey’s Legal Officer to assure and certify that the New

 Jersey State Library is a State Library Administrative Agency with the fiscal and legal authority

 and capability to administer all aspects of the Library Services and Technology subchapter 20

 U.S.C. Chapter 72. Under my direction, NJSL establishes the State’s policies, priorities, criteria,

 and procedures necessary to the implementation of all programs under this subchapter.

         5.      I previously provided a declaration in support of Plaintiffs’ Temporary Restraining

 Order, which has since been converted to a Motion for Preliminary Injunction. I provide this

 supplemental declaration in support of that Motion.

         6.      On April 9, 2025, at 10:16 PM, I received an email from grantsadmin@imls.gov

 notifying me that IMLS would be terminating Grant Application No. LG-255048-OLS-23

 effective April 8, 2025. The email contained an Action Memorandum and Notice of Grant

 Termination, both of which are submitted as Exhibit A to this supplemental declaration.




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        7.      The terminated grant amounted to $748,588 in discretionary funds, but to date only

 $24,914 has been disbursed. The NJSL relies upon these funds to carry out Teaching Information

 Literacy, a project that is developing an instructional framework and educational activities that

 will be used by K-12 teachers and school librarians to teach K-12 students in New Jersey statutorily

 required information literacy skills. The project also calls for a National Forum (Reimagining

 Information Literacy) to be held in summer 2026. A significant portion ($622,000) of the funds

 are being used for four primary projects: 1) developing the instructional framework and learning

 activities for each K-12 grade band; 2) creating evaluation tools for educators and students; 3)

 creating online interactive modules for professional development sessions on information literacy

 and developing in person training sessions, and; 4) planning a national event that will draw experts

 from across the United States to discuss information literacy and learn about New Jersey’s new

 teaching model.

        8.      Without access to these funds, we will be unable to work on the project and have

 issued stop work orders to the consultants, advisory and working groups effective April 8, 2025.

 The primary consequence of the termination is that New Jersey K-12 teachers and librarians will

 not have specially designed tools and learning activities with which to teach to New Jersey’s

 emerging information literacy skill standards. Each school district will need to create its own

 curriculum, which is a significant expense. The National Forum will have to be cancelled and

 preparations, including site selection, will have to be terminated. There will not be any online

 professional development modules for self-paced learning, and no in-person training sessions

 allowing teachers to learn together. The status of reimbursement requests is unclear; as a result,

 NJSL may need to identify sources of funding to meet our contractual obligations to these vendors.

 In addition, since the termination arrived after the business day had closed on April 9 but with the



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                  EXHIBIT A
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INSTITUTE OF MUSEUM AND LIBRARY SERVICES

NOTICE OF GRANT TERMINATION

April 8, 2025

Sharon Rawlins, Maura Walsh, Jennifer Nelson

srawlins@njstatelib.org, mwalsh@njstatelib.org, jnelson@njstatelib.org




Dear IMLS Grantee,

This letter provides notice that the Institute of Museum and Library Services (IMLS) is terminating your federal grant
(Grant Application No. LG-255048-OLS-23) effective April 8, 2025, in accordance with the termination clause in
your Award Agreement.

Upon further review, IMLS has determined that your grant is unfortunately no longer consistent with the agency’s
priorities and no longer serves the interest of the United States and the IMLS Program. IMLS is repurposing its
funding allocations in a new direction in furtherance of the President’s agenda. Independently and secondly, the
President’s March 14, 2025 executive order mandates that the IMLS eliminate all non-statutorily required activities
and functions. See Continuing the Reduction of the Federal Bureaucracy, E.O. 14238 (Mar. 14, 2025). Therefore, the
IMLS hereby terminates your grant in its entirety effective April 8, 2025.

Please remember that your obligations under the Grant Agreement continue to apply. An audit may be conducted by
IMLS after the termination of the agreement.

Please contact grant-notices@imls.gov with only urgent questions. We wish you well.




Sincerely,

/s/ Keith Sonderling

Keith Sonderling

Acting Director

ksonderling@imls.gov

955 L’Enfant Plaza SW #4000, Washington, DC 20024
